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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

AFFORDABLE PORTABLE                                    §
STRUCTURES, INC. and                                   §
JFJ GROUP, INC.,                                       §
                                                       §
                 Plaintiffs,                           §
                                                       §
v.                                                     §                     1:16-cv-1267-RP
                                                       §
THE CINCINNATI INSURANCE                               §
COMPANY and ALFRED GRAY,                               §
                                                       §
                 Defendants.                           §


                                                  ORDER

        Before the Court is Plaintiffs’ motion to dismiss this action with prejudice. (Dkt. 13). On

May 23, 2017, the Court remanded this action to the 200th District Court of Travis County, Texas,

having found that the Court lacked subject matter jurisdiction over this dispute. (Dkt. 10). The

district clerk has closed this action. Because the Court remanded this action for lack of subject

matter jurisdiction, it lacks the authority to rule on Plaintiffs’ motion. See Bogle v. Phillips Petroleum Co.,

24 F.3d 758, 762 (5th Cir. 1994) (holding that it was error for a district court to grant plaintiffs’

nonsuit motion after remanding the case for lack of subject matter jurisdiction). Therefore,

Plaintiffs’ motion, (Dkt. 13), is DENIED.

        SIGNED on January 2, 2018.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
